Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 1 of 21 Page ID
                                 #:29143




                    EXHIBIT 8

             To the Declaration of
              Jeremy S. Barber
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 2 of 21 Page ID
                                 #:29144


                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                           (WESTERN DIVISION - LOS ANGELES)




         IN RE:                             ) CASE NO: 2:15-ML-02668-PSG-JEM
                                            )
                                            )             CIVIL
         NATIONAL FOOTBALL LEAGUES          )
         SUNDAY TICKET ANTITRUST            )    Los Angeles, California
         LITIGATION                         )
                                            )    Tuesday, August 9, 2022
                                            )
                                            )   (10:04 a.m. to 10:29 a.m.)


                                       HEARING RE:

                PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF DOCUMENTS
                           BY NFL DEFENDANTS [DKT.NO.536]


                        BEFORE THE HONORABLE JOHN E. MCDERMOTT,
                            UNITED STATES MAGISTRATE JUDGE




         APPEARANCES:                 SEE PAGE 2


         Court Reporter:              Recorded; CourtSmart


         Courtroom Deputy:            S. Lorenzo


         Transcribed by:              Exceptional Reporting Services, Inc.
                                      P.O. Box 8365
                                      Corpus Christi, TX 78468
                                      361 949-2988




         Proceedings recorded by electronic sound recording;
         transcript produced by transcription service.
                         EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 3 of 21 Page ID
                                 #:29145
                                                                                2

         APPEARANCES FOR:


         Plaintiffs:                  TYLER M. FINN, ESQ.
                                      Susman Godfrey, LLP
                                      1301 Avenue of the Americas
                                      32nd Floor
                                      New York, NY 10019
                                      212-336-8330

         Defendants:                  JEREMY BARBER, ESQ.
                                      MAX WARREN, ESQ.
                                      Wilkinson Stekloff, LLP
                                      11601 Wilshire Blvd.
                                      Suite 600
                                      Los Angeles, CA 90025
                                      424-291-9661




                         EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 4 of 21 Page ID
                                 #:29146
                                                                                3


     1     Los Angeles, California; Tuesday, August 9, 2022; 10:04 a.m.

     2                      (Zoom Videoconference Hearing)

     3                                (Call to Order)

     4               THE CLERK:    Calling Case Number 15-ml-2668, In re

     5   National Football League Sunday Ticket Antitrust Litigation.

     6               Counsel, please state your appearances.

     7               MR. BARBER:    Good morning, Your Honor.      Jeremy Barber

     8   on behalf of the NFL Defendants.

     9               MR. FINN:     Good morning, Your Honor.     Tyler Finn,

    10   Susman Godfrey, on behalf of Plaintiffs.

    11               THE COURT:    Okay.   Do we have Max Warren?

    12               MR. BARBER:    Max Warren is my colleague.      He's

    13   listening but I will be handling the arguments for the NFL

    14   Defendants, Your Honor.

    15               THE COURT:    All right.   Let me begin with you,

    16   Mr. Finn.    Do you have anything you want to add to your papers?

    17               MR. FINN:     Yes, Your Honor.   I think it might help

    18   the Court to have a more fulsome explanation of why the

    19   documents that are sought, the discovery that is sought is so

    20   relevant and so material to the Plaintiffs' case and why the

    21   relevance of those -- of that discovery requires under

    22   Rule 26(e) that the NFL has a continuing discovery obligation

    23   that extends beyond the fact discovery cutoff.

    24               I think one issue that was not necessarily clear in

    25   the motion and certainly conflated by the NFL in the opposition
                         EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 5 of 21 Page ID
                                 #:29147
                                                                                 4


     1   is that this motion concerns two separate albeit related

     2   categories of discovery.      The first category is discovery

     3   concerning the actual agreement that will be signed that will

     4   govern the future of the Sunday Ticket package.          That agreement

     5   will govern the rights for out-of-market NFL games beginning in

     6   the 2023 NFL season and for years to come.         And media reports

     7   indicate, including statements from Commissioner Roger Goodell,

     8   this agreement will be signed in the fall, which is to say

     9   soon.

    10               The second category of discovery concerns the

    11   negotiations between the NFL and the multiple bidders for the

    12   future rights to these out-of-market games.         These negotiations

    13   are ongoing and have been throughout the fact discovery period.

    14               It bears mentioning that the NFL now opposes

    15   discovery of either category.       First, it refuses to produce

    16   additional documents about the negotiations and now in

    17   opposition it refuses to produce any discovery about the

    18   agreement itself, which is contrary to representations that

    19   have been made to Plaintiffs throughout the discovery period.

    20               Also, the NFL's opposition and its conflation of

    21   these two categories downplays the materiality of the discovery

    22   sought.    I think properly understood the materiality of the

    23   discovery the Plaintiffs seek in this motion cannot seriously

    24   be questioned.     That's why the NFL did not raise a relevance

    25   objection until it opposed this Motion to Compel.          That's why
                         EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 6 of 21 Page ID
                                 #:29148
                                                                                5


     1   the NFL has already produced documents about these

     2   negotiations.    That production was completed in May of this

     3   year.   I think if the NFL truly considered this discovery to be

     4   irrelevant the parties would have been before this Court months

     5   ago.

     6               Now, the NFL's failure to raise a timely relevance

     7   objection means they have waived any such argument.          And I

     8   would like to emphasize that Plaintiffs raised the waiver issue

     9   in their motion, the NFL's opposition had nothing to say about

    10   it.

    11               But putting waiver aside, Plaintiffs have made clear

    12   why this discovery is material to their case.         As you know,

    13   Your Honor, the agreement between the NFL and DirecTV for the

    14   exclusive broadcasting of out-of-market games is the

    15   centerpiece of Plaintiffs' antitrust case and it logically

    16   follows that the new agreement and negotiations leading up to

    17   that agreement will touch on multiple issues that are at the

    18   heart of this case and that are hotly disputed by the parties.

    19               Now, cutting off discovery of these documents in

    20   April of this year, which is the date of the most -- NFL's most

    21   recent document production, renders the NFL's responses

    22   materially incomplete within the Rule of 26(e).          And that is

    23   true with respect to numerous issues and I'll briefly describe

    24   them.

    25               The first one is equitable relief.       The Plaintiffs
                         EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 7 of 21 Page ID
                                 #:29149
                                                                                6


     1   seek injunctive relief in this case.        Many of the class members

     2   are current subscribers to Sunday Ticket who will be affected

     3   by the terms of the new agreement and thus the terms of the new

     4   agreement will determine the proper scope of that relief.

     5               The second issue is price.      Discovery of the new

     6   agreement will provide information about what the future retail

     7   pricing for Sunday Ticket will look like.         And the discovery

     8   that has already been produced in this case, including

     9   deposition testimony, indicates that retail price is one of the

    10   key issues that the NFL has been discussing with future bidders

    11   and potential parties.      And the retail price is central to this

    12   litigation because at bottom this is an overcharge case.

    13               In addition, the NFL has tried to justify the high

    14   price of Sunday Ticket by claiming that it is necessary to

    15   limit distribution of out-of-market games which protects the

    16   broadcast networks over-the-air supposedly free broadcast of

    17   local games.    And because of that the NFL's conduct with

    18   respect to future pricing will prove whether its procompetitive

    19   justification is legitimate or merely just a litigation

    20   defense.

    21               Secondly with respect to price, the NFL's role in

    22   setting the price for Sunday Ticket is hotly disputed in this

    23   case.   The League's witnesses have testified that DirecTV has

    24   complete discretion over pricing, that the NFL plays no role,

    25   while document discovery indicates otherwise.         And so the NFL's
                         EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 8 of 21 Page ID
                                 #:29150
                                                                                7


     1   negotiation over retail pricing to the extent to which they

     2   want to control that retail pricing is relevant to that

     3   dispute, which is material to Plaintiffs’ claims because of the

     4   Illinois (indisc.) direct purchaser.

     5               The other issues that I would emphasize are

     6   exclusivity.    It's possible that the NFL will decide to offer

     7   Sunday Ticket in a nonexclusive manner, which will contradict

     8   its procompetitive justification that exclusivity is somehow

     9   necessary to promote investment in the product and again to

    10   protect the networks' broadcast of the game.

    11               More generally, though, discovery of the negotiations

    12   provides valuable insight into what the NFL's true motivations

    13   are for the restraints that are kept.        Both the agreement and

    14   the negotiations will shed light on the viability of less

    15   restrictive alternatives than the current arrangement that

    16   could have been available during the damages period.

    17               Now, the NFL claims that this new agreement somehow

    18   has no bearing on the past because in a vague formulation that

    19   consumer preferences and the media landscapes have changed

    20   since the last agreement.      But Plaintiffs would like to

    21   emphasize the NFL provides no support for that argument and it

    22   is baseless.    Plaintiffs dispute that media landscapes have

    23   changed so dramatically such that an agreement governing terms

    24   starting in 2023 will encompass factors, aspects, and packages

    25   that would have been impossible in 2014.         That is simply not
                         EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 9 of 21 Page ID
                                 #:29151
                                                                                8


     1   true.   The NFL should not be able to sever any relationship

     2   between past conduct and future conduct.

     3               And lastly, I would say for the same reasons that

     4   these documents are relevant and material are the same reasons

     5   why Rule 26(e) requires the NFL to provide this discovery even

     6   though under the circumstances that production will occur after

     7   the deadline for fact discovery.

     8               The NFL's response to Request 112, which underlies

     9   this motion, was demonstratively incomplete.         That request

    10   specifically requested rolling production on the negotiations

    11   and Plaintiffs drafted that request in such a manner because

    12   they knew that Sunday Ticket negotiations were ongoing

    13   throughout the discovery period, were dynamic and would change.

    14   Therefore, the responses are materially incomplete and

    15   Rule 26(e) requires supplementation.        That is also true if you

    16   accept the authorities that the NFL cites in its opposition,

    17   which would require Plaintiffs to show that the requested

    18   material will substantially affect Plaintiffs' trial strategy.

    19               And with respect to the final terms of the new

    20   agreement, they are inherently material.         In the short term,

    21   this discovery will affect Plaintiffs' drafting of merit expert

    22   reports which are due in January because we'll have to rebut

    23   some of the procompetitive justifications that I just

    24   mentioned, as well as discussing whether these restraints in

    25   fact restrain competition.
                         EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 10 of 21 Page ID
                                  #:29152
                                                                                 9


      1              The continuing (indisc.) of discovery at bottom is

      2   justified by the unique circumstances here.         We have the

      3   principal antitrust Defendant who during the period of fact

      4   discovery was negotiating the very agreement the Plaintiffs

      5   challenge violates the Sherman Act.       Because of that, the

      6   collection of documents made before that agreement is signed

      7   would inherently be incomplete and the NFL is required to

      8   supplement its production.

      9              And I'll end by saying that Plaintiffs request is

    10    bounded in both scope and time and many of the authorities that

    11    the NFL cites in its opposition express concerns about

    12    extending the discovery deadline without any boundary

    13    whatsoever or unnecessarily delaying trial or a continuous

    14    production of documents that are being continually produced.

    15    That is not the case here.      Plaintiffs seek two productions and

    16    one deposition.    The end date of this discovery will be

    17    determined by the signing of a new agreement, which is a

    18    definitive date which Plaintiffs expect to be in the fall of

    19    2022, and Plaintiffs have no interest in delaying any deadlines

    20    in this case.

    21               THE COURT:    Thank you, Mr. Finn.     A couple of

    22    questions.    Do I understand correctly that what you are

    23    proposing is three custodial searches?

    24               MR. FINN:    The Plaintiffs proposal only calls for two

    25    custodial searches.
                          EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 11 of 21 Page ID
                                  #:29153
                                                                                 10


      1               THE COURT:    Okay.

      2               MR. FINN:    Which is one as soon as possible, and the

      3   second would be conducted after the agreement is signed.

      4               THE COURT:    I'm talking about the number of people

      5   that the NFL would have to have searched their records for, not

      6   the fifteen and fifteen arrangement.

      7               MR. FINN:    That's right, Your Honor.     In the past

      8   Plaintiffs and the NFL have agreed to search the custodians

      9   of -- three NFL custodians under agreed upon search terms and

    10    Plaintiffs would agree to having that protocol govern the scope

    11    of any future productions as well.

    12                THE COURT:    The NFL Defendants have presented a

    13    compromise proposal which would involve supplementing their

    14    productions with a small number of identified documents now and

    15    doing a limited noncustodial production after any agreement is

    16    ultimately signed.       What's insufficient about that for your

    17    purposes?

    18                MR. FINN:    Well, for our purposes it's the value of

    19    the custodial documents and the documents concerning the

    20    communications and the negotiations of the NFL with its former

    21    bidders and I think fundamentally what at least the second part

    22    of that proposal does not include is the rejected proposals

    23    that would have been made by bidders that the NFL deemed

    24    insufficient.    And the reasons why the NFL deemed those

    25    proposals to be insufficient or not tailored to their needs are
                          EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 12 of 21 Page ID
                                  #:29154
                                                                                 11


      1   important for Plaintiffs to understand what is in fact

      2   motivating these restraints and what are the limits on the out-

      3   of-market package, which again turn on the veracity of their

      4   procompetitive justification.

      5              THE COURT:    Okay, thank you.

      6              Mr. Barber, your turn.

      7              MR. BARBER:    Thank you, Your Honor.

      8              I want to start off by clarifying one of the opening

      9   assumptions that Mr. Finn made in his argument and I think goes

    10    to your last question, Your Honor.       The NFL has never said and

    11    is not taking the position that we will make no -- provide no

    12    discovery regarding the future deal with regard to Sunday

    13    Ticket.    What I have told Mr. Finn going back many, many months

    14    is that our view is that any such discovery should be discussed

    15    after a deal is announced and it should be limited, given the

    16    fact it will be after the end of fact discovery and given the

    17    fact that custodial collections and productions at that point

    18    would be unduly burdensome.

    19               What we are opposing is the present motion, which is

    20    much more onerous than even Mr. Finn's last offer to the NFL.

    21    What they are seeking is two burdensome custodial collections

    22    with incredibly short timeframes, 15 day turnarounds, an

    23    additional deposition, and we don't think -- we think and we

    24    would ask Your Honor to deny that motion for a number of

    25    reasons.
                          EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 13 of 21 Page ID
                                  #:29155
                                                                                 12


      1              First, it's untimely.      Judge -- Chief Judge Gutierrez

      2   has made clear there is a fact discovery deadline that has now

      3   passed of August 5th.     In his Order he made clear that is the

      4   date by which all discovery is to be completed and that any

      5   discovery motions need to be filed well enough in advance of

      6   that that they could be resolved before the end of fact

      7   discovery.    Plaintiffs did not comply with that.       That is basis

      8   enough to deny their motion.

      9              With regard to the merits, though, assuming the Court

    10    is interested, what we are opposing is Plaintiffs -- Plaintiffs

    11    are at bottom unhappy with the compromise that we have offered.

    12    They want more.    And we oppose that for very reasonable

    13    reasons.   First, the -- it's unnecessary.       It is unnecessary

    14    for a number of reasons.      One is it's burdensome.     These

    15    collections and productions that they are seeking, the first of

    16    which would have to be made in the course of the negotiations,

    17    which are highly commercially sensitive, and our view is that

    18    producing documents in the midst of that negotiation is not

    19    helpful and is -- you know, is reason enough to deny that.

    20               Moreover, and I think more to the point, there would

    21    be no prejudice whatsoever to the Plaintiffs if we were to wait

    22    until after any deal is announced.       Fact discovery has ended.

    23    All discovery, all depositions of the NFL that current

    24    employees of the NFL have been completed, including a 30(b)(6)

    25    deposition less than two weeks ago which included a topic on
                          EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 14 of 21 Page ID
                                  #:29156
                                                                                 13


      1   the current negotiations.      So Plaintiffs were able to ask all

      2   of the questions that they wished to ask to get all of the

      3   information they felt they needed and the witness, I don't

      4   think Mr. Finn will dispute, answered all of the questions on

      5   that topic.

      6              At this point Plaintiffs' motion for class

      7   certification is due in less than two weeks.         They have the

      8   information they need for that motion.        The next relevant

      9   deadline, as Mr. Finn indicated, is January 6th, which is the

    10    deadline for merit expert reports.       As Mr. Finn indicated, all

    11    the public accounts are that a new -- any new deal will be

    12    announced in the fall such that to the extent once the deal is

    13    announced the NFL will make -- has agreed that it would make a

    14    noncustodial production to give Mr. Finn the information that

    15    he thinks he's entitled to.      We have never said that we would

    16    not give discovery related to other bidders, we have just said

    17    that we'll negotiate it at the time and Mr. Finn chose to go

    18    ahead and file this motion, nonetheless.        At that point

    19    Mr. Finn and I and perhaps the NFL Defendants can have

    20    appropriate meet and confers after the deal has been announced

    21    to outline the appropriate scope.       The NFL's view is that it

    22    should not be non -- that it should not be a custodial

    23    production given the additional burdens that that involves, but

    24    we are willing to negotiate in good faith to give relevant

    25    discovery to Mr. Finn.     And they will have -- unless there's
                          EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 15 of 21 Page ID
                                  #:29157
                                                                                      14


      1   some dramatic change in the timelines, they will have that well

      2   before the deadline for their merit expert reports.          To the

      3   extent that the circumstances change and a deal is not

      4   announced before January 6th, that of course -- you know, the

      5   parties can discuss what the proper recourse at that time is.

      6              So for all those reasons, Your Honor, the NFL

      7   Defendants would request that this Court reject the Motion to

      8   Compel that is before Your Honor, at least reject the specific

      9   relief sought in the Proposed Order by Plaintiffs in their

    10    motion and agree that the NFL Defendants and the Plaintiffs can

    11    negotiate in good faith after a deal is announced and make a

    12    limited noncustodial production at that time.

    13               THE COURT:    Well, if I were to grant Plaintiffs'

    14    motion, is there anything that you would want to lessen the

    15    burden?   Would you like 30 days as opposed to 15 days for the

    16    first production, for example?

    17               MR. BARBER:    Well, I think, Your Honor, we would

    18    certainly request three things.       One is that any production be

    19    after the negotiations.      We don't think there's any benefit to

    20    Plaintiffs to have the production of documents 15 days from now

    21    after their class certification motion is filed, or 30 days

    22    from now after their class certification motion is filed.              So

    23    we would request that there be one production after any deal is

    24    announced.

    25               Two, we would request that the timeframe for
                          EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 16 of 21 Page ID
                                  #:29158
                                                                                 15


      1   production be greatened so it is greater than 15 days because

      2   we think that creates -- that timeline creates unnecessary

      3   burdens.   To the extent it is a noncustodial production that

      4   Your Honor would order, I think a shorter timeframe may be

      5   appropriate.    But if it's a custodial production, that

      6   increases the burden and the time necessary for review and so

      7   we would request that that be extended.

      8              And third, we would request the Court deny

      9   Plaintiffs' request for an additional deposition on this topic.

    10    Plaintiffs and the NFL Defendants negotiated at length the

    11    number of depositions that would occur in this case.          We

    12    reached an agreement and this -- Plaintiffs never requested in

    13    that negotiation to seek a deposition of the NFL after a deal

    14    had been announced.     This is the first time that they are

    15    requesting that, in violation of the agreement that we reached.

    16    Plaintiffs have already deposed a 30(b)(6) witness about the

    17    negotiations so they are already well aware of the types of

    18    potential agreements that the NFL has considered, which was one

    19    of the primary motivating factors that Mr. Finn cited in his

    20    argument, and the additional burden of another deposition of an

    21    NFL witness is not appropriate in our view.

    22               THE COURT:    Mr. Finn, I'd like you to respond to the

    23    argument about waiting until after the negotiations are

    24    concluded.     If you waited you could pick up the material that

    25    your first production would provide at that time, but just
                          EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 17 of 21 Page ID
                                  #:29159
                                                                                  16


      1   later.    Does that -- is that a problem for you?       Do you need it

      2   now?    Is it important for you to get it now as opposed to at

      3   the time of the negotiations?      And I'm assuming and what I'm

      4   saying is that it would -- well, let me hear your response.

      5               MR. FINN:    Yes, Your Honor.    I think in context a lot

      6   of the requests for having a more immediate production were

      7   tailored towards, one, the 30(b)(6) deposition had already

      8   occurred; and two, the class certification motion, which will

      9   certainly be briefed by us before any relief is ordered in this

    10    motion.

    11                So in that case Plaintiffs wouldn't necessarily

    12    oppose waiting until the negotiations are completed, but the

    13    one deadline which is of concern to us, as I mentioned, is the

    14    January 6th, 2023, deadline for the submission of expert

    15    reports.    If the agreement is in fact reached in the fall, as

    16    the media reports indicate, there would be no issue there.             So

    17    what Plaintiffs had proposed originally to the NFL as part of a

    18    compromise was to set a December 1st cutoff date, regardless of

    19    whether the agreement was reached by that point, for production

    20    to ensure that Plaintiffs had those documents in order to

    21    prepare their expert reports one month later.

    22                THE COURT:   I'm wondering whether there isn't some

    23    value in having the parties continue to meet and confer about

    24    this.     Mr. Barber, you've already made two productions in

    25    response to Request Number 112 and the request here is for
                          EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 18 of 21 Page ID
                                  #:29160
                                                                                  17


      1   April 4th, 2022, onward and at some point I think it's

      2   appropriate for there to be discovery about both the agreement

      3   and about the negotiations with the various parties involved.

      4   The only question is, is how do we get there and is this

      5   something that requires a Court ruling today, now, as opposed

      6   to having the parties spend a little more time sharpening their

      7   pencils and coming up with a proposal that works for everybody.

      8   I don't, frankly, see a great burden on having a deposition.

      9   The fact that the Defendants have already made two productions,

    10    sure it makes it -- makes me think that it's not a great

    11    problem with having an additional production.

    12               So tell me what you want to do, whether you would

    13    rather have a ruling from me now or do you want to spend some

    14    time seeing if you can craft an agreement that deals with the

    15    various considerations here.      There seems to be as much

    16    agreement as there is disagreement, so that's why I'm raising

    17    the question.    What would you folks want to do?

    18               MR. FINN:    Let me begin, Mr. Barber, if you don't

    19    mind.   I think there can be an agreement in terms of the scope

    20    and timing of the production.      The NFL Defendants and

    21    Plaintiffs have worked well in the past on that.         I think the

    22    two points of contention, and I think Mr. Barber would agree

    23    with me here, are the -- are whether the production will be

    24    custodial or noncustodial and the issue of the deposition.             If

    25    the Court were to make clear that the production would be
                          EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 19 of 21 Page ID
                                  #:29161
                                                                                 18


      1   custodial and the deposition would be involved --

      2              THE COURT:    I am making -- I would make that clear.

      3   I don't see any reason why it shouldn't -- there shouldn't be a

      4   custodial production.     With that, is that enough for you to try

      5   to work out an agreement?

      6              MR. FINN:     From Plaintiffs perspective with those

      7   guarantees about a custodial production and a deposition, I

      8   believe so.

      9              THE COURT:    Mr. Barber?

    10               MR. BARBER:    Your Honor --

    11               THE COURT:    You want to give it a crack?

    12               MR. BARBER:    What we would request, Your Honor, is

    13    if -- what you've done in the past with other discovery

    14    motions, which I think has been helpful, is to ask the parties

    15    to submit -- to meet and confer further, see if they can reach

    16    agreement, and then to submit a joint status report updating on

    17    the nature of those negotiations.       That has been very

    18    successful in the past.

    19               The NFL Defendants, Your Honor, I think view the

    20    prospects of a custodial production as being much more

    21    burdensome than I think the Court does.        I would also note it

    22    is clearly after the fact discovery deadline that the Court has

    23    imposed and I think that is a factor that should play into

    24    this.   That said, I am confident if we work with -- if I can

    25    work with Mr. Finn we'll be able to reach an agreement that's
                          EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 20 of 21 Page ID
                                  #:29162
                                                                                 19


      1   reasonable to all parties.      We've been able to do that before.

      2   And to the extent we can't, the joint status report will tee up

      3   those issues and if Your Honor at that point needs to issue an

      4   order requiring a custodial production and requiring another

      5   deposition, then Your Honor is of course free to do so.

      6              I have certainly heard you clear on those positions

      7   and so I think that will certainly impact our meet and confer

      8   efforts.

      9              THE COURT:    I think that's the right way to handle

    10    this, so we will proceed on that basis.

    11               MR. BARBER:    Thank you, Your Honor.

    12               THE COURT:    Meet and confer and then come back to me

    13    with a status report indicating what you've been able to

    14    accomplish or maybe you don't accomplish and that requires a

    15    ruling on my part.      Fair enough?

    16         (Counsel thank the Court)

    17               THE CLERK:    Court is adjourned.

    18         (This proceeding was adjourned at 10:29 a.m.)

    19

    20

    21

    22

    23

    24

    25
                          EXCEPTIONAL REPORTING SERVICES, INC
Case 2:15-ml-02668-PSG-SK Document 912-10 Filed 04/05/23 Page 21 of 21 Page ID
                                  #:29163
                                                                                 20


                                       CERTIFICATION



                     I certify that the foregoing is a correct transcript

          from the electronic sound recording of the proceedings in the

          above-entitled matter.




                                                              August 13, 2022

                      Signed                                      Dated



                                TONI HUDSON, TRANSCRIBER




                          EXCEPTIONAL REPORTING SERVICES, INC
